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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                Western District
                                               __________        of Washington
                                                          District  of __________


                State of Washington, et al.,                   )
                             Plaintiff                         )
                                v.                             )      Case No.     2:25-cv-00127-JCC
                   Donald J. Trump, et al.,                    )
                            Defendant                          )

                                                APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          All Defendants                                                                                                .


Date:          01/22/2025                                                              s/ Brad P. Rosenberg
                                                                                         Attorney’s signature


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